                   Case 2:09-cr-00258-GEB Document 27 Filed 08/12/09 Page 1 of 1




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 4                             IN THE UNITED STATES DISTRICT COURT

 5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                            Cr.S-09-0258 GEB

 8             vs.

 9                                                        ORDER

10   MUZDHA KHALIL,                                       Judge: Hon. Gregory G. Hollows

11                                          /

12                     On May 28, 2009, the undersigned advised defendant Muzdha Khalil of the

13   special conditions of release including the requirement of submitting to DNA testing as directed

14   by the United States Attorney’s Office. This condition was stayed pending a ruling on the same

15   issue in the case of United States v. Jerry Albert Pool, 09-015 EJG. On May 27, 2009, the

16   undersigned ordered that DNA sampling was appropriate and that the defendant in Pool submit

17   to DNA testing. That order was appealed to the District Court and on July 16, 2009, the

18   Honorable Edward J. Garcia affirmed the undersigned’s order. That order is currently pending

19   appeal before the Ninth Circuit Court of Appeals.

20                     Accordingly, IT IS HEREBY ORDERED that the stay is lifted and defendant

21   Muzdha Khalil is ordered to submit to DNA testing as directed by the United States Attorney’s

22   Office.

23   DATED: August 11, 2009
                                                          /s/ Gregory G. Hollows
24
                                                         GREGORY G. HOLLOWS
25                                                    UNITED STATES MAGISTRATE JUDGE
     ggh: ab
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